Case 1:09-cr-00146-MAC-CLS           Document 175       Filed 08/25/10      Page 1 of 5 PageID #:
                                            399




                                                                               FILED: 8/25/10
                                                                           U.S. DISTRICT COURT
                                                                         EASTERN DISTRICT COURT
                                                                         DAVID J. MALAND, CLERK



                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
                                                 §
 VS.                                             §    CASE NO. 1:09-CR-146-2(TH)
                                                 §
                                                 §
 MARCUS HERNANDEZ                                §

          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the District Court, this matter was referred to the undersigned United States

 Magistrate Judge for administration of a guilty plea and allocution under Rules 11 and 32 of the

 Federal Rules of Criminal Procedure. Magistrate judges have the statutory authority to conduct a

 felony guilty plea proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United

 States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

        On August 18, 2010, this cause came before the undersigned United States Magistrate

 Judge for entry of a guilty plea by the defendant, MARCUS HERNANDEZ, on Count One of

 the charging Superseding Indictment filed in this cause.         Count One of the Superseding

 Indictment charges that on or about January, 2006 continuing thereafter until March, 2010, in

 Jefferson County, in the Eastern District of Texas, MARCUS HERNANDEZ, defendant,


                                                -1-
Case 1:09-cr-00146-MAC-CLS            Document 175         Filed 08/25/10   Page 2 of 5 PageID #:
                                             400

 knowingly and intentionally combine, conspire, confederate and agree with together with each

 other and persons known and unknown to the Grand Jury to distribute and possess with intent to

 distribute five kilograms or more of a mixture or substance containing a detectable amount of a

 Schedule II controlled substance, namely cocaine HCL, in violation of 21 U.S.C. § 841(a)(1) and

 18 U.S.C., § 2, all in violation of Title 21, U.S.C., § 846.

        Defendant, MARCUS HERNANDEZ, entered a plea of guilty to Count One of the

 Superseding Indictment into the record at the hearing.

        After conducting the proceeding in the form and manner prescribed by Federal Rule of

 Criminal Procedure 11 the Court finds:

        a.      That Defendant, after consultation with counsel of record, has knowingly, freely

 and voluntarily consented to the administration of the guilty plea in this cause by a United States

 Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

 sentence by the District Court.

        b.      That Defendant and the Government have entered into a plea agreement which

 was disclosed and addressed in open court, entered into the record, and placed under seal.

        c.      That Defendant is fully competent and capable of entering an informed plea, that

 Defendant is aware of the nature of the charges and the consequences of the plea, and that the

 plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

 personally in open court, the Court determines that Defendant plea is voluntary and did not result

 from force, threats or promises. See FED . R. CRIM . P. 11(b)(2).

        d.      That Defendant’s knowing, voluntary and freely made plea is supported by an

 independent factual basis establishing each of the essential elements of the offense and

 Defendant realizes that his conduct falls within the definition of the crimes charged under 26

 U.S.C. § 5861(d).

                                                  -2-
Case 1:09-cr-00146-MAC-CLS            Document 175         Filed 08/25/10      Page 3 of 5 PageID #:
                                             401

                                   STATEMENT OF REASONS

        As factual support for Defendant’s guilty plea, the Government presented a factual basis.

 See Factual Basis and Stipulation. In support, the Government would prove that Defendant,

 MARCUS HERNANDEZ, is one and the same person charged in the Superseding Indictment

 and that the events described in the Superseding Indictment occurred in the Eastern District of

 Texas and elsewhere. The Government would also have proven, beyond a reasonable doubt,

 each and every essential element of the offense alleged in Count One of the Superseding

 Indictment through the testimony of witnesses, including expert witnesses, and admissible

 exhibits. In support of the Defendant’s plea, the Court incorporates the proffer of evidence

 described in detail in the factual basis and stipulation, filed in support of the plea agreement.

        Defendant, MARCUS HERNANDEZ, agreed with and stipulated to the evidence

 presented in the factual basis.       Counsel for Defendant and the Government attested to

 Defendant’s competency and capability to enter an informed plea of guilty. The Defendant

 agreed with the evidence presented by the Government and personally testified that he was

 entering his guilty plea knowingly, freely and voluntarily.

                                RECOMMENDED DISPOSITION

        IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of Defendant which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offense charged in Count One of the charging Superseding Indictment on file

 in this criminal proceeding. The Court also recommends that the District Court accept the plea




                                                  -3-
Case 1:09-cr-00146-MAC-CLS                     Document 175              Filed 08/25/10            Page 4 of 5 PageID #:
                                                      402



 agreement.1 Accordingly, it is further recommended that, Defendant, MARCUS HERNANDEZ,

 be finally adjudged as guilty of the charged offense under Title 21, United States Code, Section

 846.

          Defendant is ordered to report to the United States Probation Department for the

 preparation of a presentence report. At the plea hearing, the Court admonished the Defendant

 that the District Court may reject his plea and that the District Court can decline to sentence

 Defendant in accordance with the plea agreement, the federal sentencing guidelines and/or the

 presentence report because the sentencing guidelines are advisory in nature. The District Court

 may defer its decision to accept or reject the plea agreement until there has been an opportunity

 to consider the presentence report. See FED . R. CRIM . P. 11(c)(3). If the Court rejects the plea

 agreement, the Court will advise Defendant in open court that it is not bound by the plea

 agreement and Defendant may have the opportunity to withdraw his guilty plea, dependent upon

 the type of the plea agreement. See FED . R. CRIM . P. 11(c)(3)(B). If the plea agreement is

 rejected and Defendant still persists in the guilty plea, the disposition of the case may be less

 favorable to Defendant than that contemplated by the plea agreement. Defendant has the right to

          1
            “(3) Judicial Consideration of a Plea Agreement.
 (A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
 agreement, reject it, or defer a decision until the court has reviewed the presentence report.
 (B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
 that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
 (4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
 the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
 (5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
 (A) inform the parties that the court rejects the plea agreement;
 (B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
 an opportunity to withdraw the plea; and
 (C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
 toward the defendant than the plea agreement contemplated.” F ED . C RIM . P. 11(c)(3)-(5).

                                                              -4-
Case 1:09-cr-00146-MAC-CLS           Document 175        Filed 08/25/10     Page 5 of 5 PageID #:
                                            403



 allocute before the District Court before imposition of sentence.

                                          OBJECTIONS

        Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen

 (14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1); FED . R. CIV .

 P. 1(a), 6(b), and 72(b). A party’s failure to object bars that party from: (1) entitlement to de

 novo review by a district judge of proposed findings and recommendations, see Rodriguez v.

 Bowen, 857 F.2d 275, 276-77 (5th Cir. 1988), and (2) appellate review, except on grounds of

 plain error of unobjected-to factual findings and legal conclusions accepted by the district court,
  . Douglass v. United Servs. Auto. Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The
 see

 constitutional safeguards afforded by Congress and the courts require that, when a party takes

 advantage of his right to object to a magistrate’s findings or recommendation, a district judge

 must exercise its nondelegable authority by considering the actual evidence and not merely by

 reviewing and blindly adopting the magistrate’s report and recommendation. See Hernandez v.

 Estelle, 711 F.2d 619, 620 (5th Cir. 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir.

 1981) (per curiam).



                       SIGNED this the 24th day of August, 2010.




                                                       ____________________________________
                                                       KEITH F. GIBLIN
                                                       UNITED STATES MAGISTRATE JUDGE



                                                -5-
